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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


  NATIONAL CASUALTY COMPANY, a
  Wisconsin Corporation

        Plaintiff,
                                                          Case No.:
  vs.

  UNITED STATES ADULT SOCCER
  ASSOCIATION,      INC. a    Tennessee
  Corporation,    MIGUEL   MESA,     an
  individual, MIAMI UNITED SOCCER
  CLUB, LLC, a Florida Limited Liability
  Company,      ROBERTO  SACCA,      an
  individual, and RUBEN QUETGLAS, an
  individual,

     Defendants.
  _______________________________________/

                          COMPLAINT FOR DECLARATORY JUDGMENT

            Plaintiff, National Casualty Company (“National Casualty”), hereby sues defendants,

  United States Adult Soccer Association, Inc. (“USASA”), Miguel Mesa, Miami United Soccer

  Club, LLC (“Miami United”), Roberto Sacca, and Ruben Quetglas, and seeks a declaratory

  judgment pursuant to 28 U.S.C. §2201 and Rule 57 of the Federal Rules of Civil Procedure for

  purposes of determining a question of actual controversy between the parties.

                                                 PARTIES

            1.       At all pertinent times, National Casualty was, and still is, a corporation organized

  and existing under the laws of the State of Wisconsin with its principal place of business in

  Scottsdale, Arizona.




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           2.     At all pertinent times, USASA was, and still is, a Tennessee corporation with its

  principal place of business in Bridgeview, Illinois.

           3.     Upon information and belief, at all pertinent times, Miguel Mesa was, and still is,

  a resident of Miami, Florida.

           4.     At all pertinent times, Miami United was, and still is, a Florida Limited Liability

  Company with its principal place of business in Miami Beach, Florida. According to the Florida

  Department of State Division of Corporations, at all pertinent times Roberto Sacca was, and still

  is, the sole member of Miami United, and a resident of Miami Beach, Florida.

           5.     Upon information and belief, at all pertinent times, Roberto Sacca was, and still

  is, a resident of Miami Beach, Florida.

           6.     Upon information and belief, at all pertinent times, Ruben Quetglas was, and still

  is, a resident of Miami, Florida.

                                      JURISDICTION AND VENUE

           7.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §1332

  because there is diversity of citizenship among the parties and the matter in controversy exceeds

  the sum of $75,000, exclusive of interest, attorneys’ fees and costs.

           8.     Venue is proper in the United States District Court for the Southern District of

  Florida, because the incident that is the subject matter of this lawsuit is alleged to have occurred

  in Miami, Florida, which is within the jurisdiction of this Court.

                                       NATURE OF THE CLAIM

           9.     This is an action for declaratory judgment, pursuant to 28 U.S.C. §2201 and

  Rule 57 of the Federal Rules of Civil Procedure, to determine an actual case or controversy




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  between the parties and their respective rights and obligations with respect to certain insurance

  policies issued by National Casualty.

           10.    National Casualty seeks a judgment declaring that it has no obligation under

  certain insurance policies to defend or indemnify USASA, Miami United, Mr. Mesa, Mr. Sacca,

  or any other party in connection with the lawsuit described below (“Underlying Lawsuit”).

                                   FACTUAL BACKGROUND

           11.    On July 16, 2015, Mr. Quetglas filed a lawsuit captioned Ruben Arturo Quetglas

  v. Miami United Soccer Club, LLC, United States Adult Soccer Association, Roberto Sacca, and

  Miguel Mesa, case no. 15-016185-CA-01 in the Circuit Court of the Eleventh Judicial Circuit in

  and for Miami-Dade County, Florida (the “Underlying Lawsuit”).

           12.    On September 22, 2015, Mr. Quetglas filed an Amended Complaint in the

  Underlying Lawsuit. A true and correct copy of the Amended Complaint filed in the Underlying

  Lawsuit is attached hereto as Exhibit “A.”

           13.    Mr. Quetglas alleges that USASA is the premier national organization and

  sanctioning body for adult amateur soccer in the United States. USASA allegedly consists of

  approximately 54 state organizations along with regional and national leagues. (Ex. A, ¶ 4)

           14.    Mr. Quetglas also alleges that Miami United owned, managed, and/or organized

  Miami United Football Club (“MUFC”), a premier, semi-professional soccer team based in

  Miami, Florida.    MUFC is allegedly a member of the USASA’s National Premier Soccer

  League, and is allegedlydirectly run by, and affiliated with, the USASA which

  sanctions/manages the teams tryouts, games and practices. (Ex. A, ¶¶ 3-4)

           15.    Mr. Sacca is alleged to be the owner of Miami United and MUFC. He is alleged

  to have participated in the recruitment of players for the MUFC, coordinated team events an



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  games, and selected and/or hired coaches and other support staff to manage MUFC. All of the

  acts by Mr. Sacca complained of by Mr. Quetglas were allegedly committed within the course

  and scope of Mr. Sacca’s position with Miami United and USASA. (Ex. A, ¶ 5)

           16.    Mr. Mesa is alleged to be the coach and/or team manager of MUFC, employed by

  and/or contracted with Miami United and/or USASA. Mr. Quetglas alleges that Mr. Mesa had

  the responsibility to manage, supervise, and monitor the team’s tryouts, practices and games,

  take all reasonable measures to protect the health and safety of the team’s tryout candidates and

  its official players. All of the acts by Mr. Mesa complained of by Mr. Quetlas were allegedly

  committed within the course and scope of Mr. Mesa’s position with Miami United and/or

  USASA. (Ex. A, ¶ 6)

           17.    Mr. Quetglas alleges that in December 2013, USASA held, sponsored, oversaw

  and/or managed tryouts for the Miami United soccer team at Milander Park in Hialeah, Florida.

  (Ex. A, ¶ 16)

           18.    Mr. Quetglas asserts that he participated in the tryouts as a goalie. Mr. Sacca

  advised him that he made the adult men’s teams and that he should return for the team’s first

  official practice on January 7, 2014. (Ex. A, ¶ 16)

           19.    Mr. Quetglas alleges that he participated in the January 7, 2014 practice without

  being required to submit to a physical examination to assess his fitness for participation in the

  league’s practice or games. He claims that he suffered from a pre-existing condition which

  substantially contributed to his alleged injury, and could have been discovered through a

  thorough pre-participation health screening. (Ex. A, ¶17)

           20.    Mr. Quetglas alleges there was no supervision or oversight by any coaching staff

  during these drills. Nor were any managers or trainers present to ensure reasonable participant



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  conduct and/or to guard against the violation of safety protocols during practice which might

  pose a threat to Mr. Quetglas. (Ex. A, ¶ 18)

           21.    It is also alleged by Mr. Quetglas that there were no effective emergency

  protocols or staffing in place at this practice to ensure proper care and management of participant

  injuries, should they occur. (Ex. A, ¶ 18)

           22.    Mr. Quetglas alleges that on January 7, 2014, at the team’s first official practice,

  he was placed in a defensive posture against veteran members of the team, despite having no

  experience playing soccer in a premier league against professional-level players. One of these

  players was allegedly Juan Sebastian Alfonso, who was known to be a fierce player with

  aggressive propensities. (Ex. A, ¶ 18)

           23.    Mr. Quetglas claims that Mr. Sacca “specifically solicited and/or recruited Juan

  Sebastian Alfonso to join the MUFC because of his aggressive tendencies and reputation for

  vicious tactics against other players during games.” Mr. Sacca also allegedly encouraged and

  rewarded such conduct by Alfonso, which at times resulted in injuries to other players. (Ex. A, ¶

  19)

           24.    Mr. Quetglas alleges that during the first drills on January 7, 2014, he jumped up

  to block a ball. While he was in the air, Juan Sebastian Alfonso charged and “side-tackled,

  impacted and/or collided” with Mr. Quetglas with sufficient force to flip him upside down. Mr.

  Quetglas claims he crashed to the turf, landing on his neck. (Ex. A, ¶ 20)

           25.    Mr. Quetglas further alleges that, contrary to appropriate safety practices for

  potential head and spinal injury, he was improperly moved and/or repositioned before emergency

  first responders arrived. (Ex. A, ¶ 20)




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           26.    Mr. Quetglas alleges that, as a result of the collision and subsequent movement

  prior to the arrival of paramedics, he suffered “debilitating injuries to his cervical spine resulting

  in incomplete quadriplegia.” (Ex. A, ¶ 21)

           27.    Mr. Quetglas asserts claims for negligence against USASA, Miami United, Mr.

  Sacca, and Mr. Mesa. (Ex. A, ¶¶ 23-38) He also alleges that Miami United, and, alternatively,

  USASA, are vicariously liable for the negligence of Mr. Sacca and Mr. Mesa. (Ex. A, ¶¶ 39-48)

           28.    Mr. Quetglas alleges that USASA had a duty to exercise reasonable care to

  protect the health and safety of players on teams within its league, and to implement rules,

  policies and regulations for its member clubs to follow in an attempt to best protect its

  participants, particularly when known and foreseeable risks existed that pose a threat to the

  safety of its players. (Ex. A, ¶ 28)

           29.    In his Amended Complaint, Mr. Quetglas alleges that USASA breached its duty

  of care to him by the following facts and/or omissions:

           a)     Failure to train and educate its coaching staff to properly regulate and monitor
                  practices, drills, tryouts and other team events so as to protect newer participants
                  from known risks such as veteran players with a history of aggression and
                  violence;

           b)     Failure to institute acclimation procedures to ensure acclimation and adjustment
                  of the new team members to potential hazards of play before they participate in
                  USASA sponsored practices or games with veteran team members;

           c)     Failure to develop and/or employ policies, procedures and/or protocols of warning
                  and counseling existing team members about the use of excessive violence and
                  aggression against new, "rookie" players during routine, non-competitive
                  practices and drills;

           d)     Failure to ensure that a physical examination and history was taken of Plaintiff
                  prior to participation in practice in order to ensure that he was fit for play and not
                  medically-compromised or susceptible to injury due to pre-existing injury or
                  trauma;




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           e)     Failure to demand and ensure the presence and attention of its coaching staff
                  during all organized practices, including warm-up drills;

           f)     Failure to create effective, internal controls and penalties for Miami United team
                  members who repeatedly deviated from appropriate standards of safety, care and
                  caution during games or practices;

           g)     Failure to ensure that incoming "rookie" players were forewarned of potential
                  hazards of which the USASA staff has greater knowledge such as dangerous
                  players with a proclivity for violent play;

           h)     Failure to create and implement effective league-wide guidelines or policies to
                  protect the safety of its participants, and particularly new players who are likely
                  unfamiliar with the propensities and background of other team members;

           i)     Failure to develop, implement and train its staff on appropriate emergency
                  protocols in the event of participant injury, and in particular, the proper
                  procedures to follow in the event of potential head or spinal injury so as to avoid
                  aggravation of injury through premature movement of a player when the nature
                  and extent of injury is unknown; and,

           j)     Failure to protect the safety and health of its players. (Ex. A, ¶ 29(a)-(j))

           30.    As a result of USASA’s alleged negligence, Mr. Quetglas claims he suffered

  significant and permanent injuries, including bodily injury, resulting pain and suffering,

  disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

  medical and therapeutic care, and loss of ability to earn money. (Ex. A, ¶ 30)

           31.    Mr. Quetglas alleges that Miami United had a duty to exercise reasonable care in

  its management of MUFC, and to protect the health and safety of its players by implementing

  rules, regulations and policies in an attempt to best protect its participants, particularly when

  known and foreseeable risks exist posing a threat to the safety of its players. (Ex. A, ¶ 24)

           32.    In his Amended Complaint, Mr. Quetglas alleges that Miami United breached its

  duty of care to him by the following acts and/or omissions:

           a)     Failure to train and educate its coaching staff to properly regulate and monitor
                  practices, drills, tryouts and other team events so as to protect newer participants
                  from known risks such as veteran players with a history of aggression and
                  violence;

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           b)     Failure to institute acclimation procedures to ensure acclimation and adjustment
                  of the new team members to potential hazards of play before they participate in
                  USASA sponsored practices or games with veteran team members;

           c)     Failure to develop and/or employ policies, procedures and/or protocols of warning
                  and counseling existing team members about the use of excessive violence and
                  aggression against new, "rookie" players during routine, non-competitive
                  practices and drills;

           d)     Failure to ensure that a physical examination and history was taken of Plaintiff
                  prior to participation in practice in order to ensure that he was fit for play and not
                  medically-compromised or susceptible to injury due to pre-existing injury or
                  trauma;

           e)     Failure to demand and ensure the presence and attention of its coaching staff
                  during all organized practices, including warm-up drills;

           f)     Failure to create effective, internal controls and penalties for Miami United team
                  members who repeatedly deviated from appropriate standards of safety, care and
                  caution during games or practices;

           g)     Failure to ensure that incoming "rookie" players were forewarned of potential
                  hazards of which the USASA staff has greater knowledge such as dangerous
                  players with a proclivity for violent play;

           h)     Failure to create and implement effective league-wide guidelines or policies to
                  protect the safety of its participants, and particularly new players who are likely
                  unfamiliar with the propensities and background of other team members;

           ii)    Failure to develop, implement and train its staff on appropriate emergency
                  protocols in the event of participant injury, and in particular, the proper
                  procedures to follow in the event of potential head or spinal injury so as to avoid
                  aggravation of injury through premature movement of a player when the nature
                  and extent of injury is unknown; and,

           j)     Failure to protect the safety and health of its players. (Ex. A, ¶ 25(a)-(j))

           33.    As a result of Miami United’s alleged negligence, Mr. Quetglas claims he

  suffered significant and permanent injuries, including bodily injury, resulting pain and suffering,

  disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

  medical and therapeutic care, and loss of ability to earn money. (Ex. A, ¶ 26)



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           34.    Mr. Quetglas alleges that Mr. Sacca had a duty to exercise reasonable care in the

  organization, management and supervision of the MUFC, to protect the health and safety of the

  players, and to refrain from any conduct which posed a foreseeable threat to members of his

  soccer team, including Mr. Quetglas. (Ex. A, ¶ 32)

           35.    In his Amended Complaint, Mr. Quetglas alleges that Mr. Sacca breached his

  duty of care to him by the following acts and/or omissions:

           a)     Deliberately recruiting players with aggressive/dangerous propensities for violent
                  play which would pose a risk of harm to members of his own team, including
                  Plaintiff;

           b)     Failing to properly regulate and monitor practices, drills, tryouts and other team
                  events so as to protect newer participants from known risks such as players with a
                  history of aggression and violence;

           c)     Encouraging the use of excessive violence and aggression by players, particularly
                  in a setting with new, "rookie" participants during routine, non-competitive
                  practices and drills;

           d)     Failing to ensure that a physical examination and history was taken of incoming
                  team members, including Plaintiff, prior to participation in practice in order to
                  determine that they are fit for play and not medically-compromised or susceptible
                  to injury due to some pre-existing injury or trauma;

           e)     Failure to be present and attentive during organized practices, including warm-up
                  drills, to prevent the foreseeable risk of harm associated with unmonitored play;

           f)     Failure to penalize or impose consequences upon participants who repeatedly
                  deviated from appropriate standards of safety, care and caution during games or
                  practices;

           g)     Failure to warn incoming "rookie" players, like the Plaintiff, of potential hazards
                  of which Mr. Sacca had greater knowledge such as dangerous players with a
                  proclivity for violent play, such as Alfonso; and,

           h)     Failure to protect the safety and health of its players. (Ex. A, ¶ 33(a)-(h))

           36.    As a result of Mr. Sacca’s alleged negligence, Mr. Quetglas claims he suffered

  significant and permanent injuries, including bodily injury, resulting pain and suffering,



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  disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

  medical and therapeutic care, and loss of ability to earn money. (Ex. A, ¶ 34)

           37.    Mr. Quetglas alleges that Mr. Mesa had a duty to exercise reasonable care in the

  performance of his coaching, management and supervisorial duties with Miami United and/or

  USASA, and to protect the health and safety of the players of the MUFC which whose oversight

  he was charged with, including Mr. Quetglas. (Ex. A, ¶ 36)

           38.    In his Amended Complaint, Mr. Quetglas alleges that Mr. Mesa breached his duty

  of care to him by the following acts and/or omissions:

           a)     Failure to properly regulate and monitor practices, drills, tryouts and other team
                  events so as to protect newer participants from known risks such as veteran
                  players with a history of aggression and violence;

           b)     Failure to employ acclimation procedures so as to ensure acclimation and
                  adjustment of the new team members to potential hazards of play before they
                  participate in USASA sponsored practices or games with veteran team members;

           c)     Failure to warn and counsel existing team members about the use of
                  excessive violence and aggression against new, "rookie" players during routine,
                  non-competitive practices and drills;

           d)     Failure to ensure that a physical examination and history was taken of incoming
                  team members, including Plaintiff, prior to participation in practice in order to
                  determine that they are fit for play and not medically-compromised or susceptible
                  to injury due to some pre-existing injury or trauma;

           e)     Failure to be present and attentive during organized practices, including warm-up
                  drills, to prevent the foreseeable risk of harm associated with unmonitored play;

           f)     Failure to penalize or impose consequences upon participants who repeatedly
                  deviate from appropriate standards of safety, care and caution during games or
                  practices;

           g)     Failure to warn incoming "rookie" players, like the Plaintiff, of potential hazards
                  of which the Mr. Mesa had greater knowledge such as dangerous players with a
                  proclivity for violent play, such as Alfonso;

           h)     Failure to effectively coach and manage practices to minimize the risk of injury to
                  participants;


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           i)     Failure to follow appropriate emergency protocols in the event of participant
                  injury, and in particular, the proper procedures to follow in the event of potential
                  head or spinal injury so as to avoid aggravation of injury through premature
                  movement of a player when the nature and extent of injury is unknown; and,

           j)     Failure to protect the safety and health of its players. (Ex. A, ¶ 37(a)-(j))

           39.    As a result of Mr. Mesa’s alleged negligence, Mr. Quetglas claims he suffered

  significant and permanent injuries, including bodily injury, resulting pain and suffering,

  disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

  medical and therapeutic care, and loss of ability to earn money. (Ex. A, ¶ 38)

           40.    Prior to the alleged accident, National Casualty, working closely with USASA,

  had previously approved a waiver form to be used by all USASA affiliate teams.

           41.    The waiver form signed by Mr. Quetglas is not the waiver form that had been

  previously approved by National Casualty.

                                            THE POLICIES

           42.    National Casualty issued Policy No. KRO0000003704700 (the “Primary Policy”)

  to United States Adult Soccer Association and its affiliates, leagues and teams for the period of

  September 1, 2013 to September 1, 2014. A certified copy of the Primary Policy is attached

  hereto as Exhibit “B.”

           43.    National Casualty also issued Excess Policy No. XKO0000003704800 (the

  “Excess Policy”) to United States Adult Soccer Association and its affiliates, leagues and teams

  for the period of September 1, 2013 to September 1, 2014. A certified copy of the Excess Policy

  is attached hereto as Exhibit “C.”

           44.    Pursuant to the Primary Policy’s Insuring Agreement of Coverage A – Bodily

  Injury and Property Damage Liability, National Casualty agrees to “pay those sums that the



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  insured becomes legally obligated to pay as damages because of ‘bodily injury’ ... caused by an

  ‘occurrence,’” provided that the “bodily injury” occurs during the policy period. (Ex. B, CG 00

  01 04 13)

           45.         The Insuring Agreement further requires that the “bodily injury” be caused by an

  “occurrence,” which is defined as “an accident, including continuous or repeated exposure to

  substantially the same general harmful conditions.” (Id.)

           46.         The Primary Policy contains an endorsement entitled “Legal Liability to

  Participants” (“LLP Endorsement”). The LLP Endorsement amends Coverage A - Bodily Injury

  and Property Damage Liability of the CGL coverage form to include an exclusion which

  provides that Coverage A of the Policy does not apply to “bodily injury” to a “participant.” (Ex.

  B, KR-GL-1-IL)

           47.         The LLP Endorsement defines “participant” as “‘player’, coaches, managers, staff

  members, team workers, referees, officials, scorekeepers, all other personnel including but not

  limited to, media personnel permitted to enter any ‘restricted areas’ which are defined as those

  areas restricting access to general public spectators.” (Id.)

           48.         “Players” are defined in the LLP Endorsement as “amateur soccer players.”

  “Restricted areas” are defined in the LLP Endorsement as “areas which are occupied by athletes

  and to which access by the general public is restricted or prohibited.” (Id.)

           49.         The LLP Endorsement includes a waiver condition which states as follows:

                  a.   You must obtain from each “player” a valid waiver and release form
                       approved by us and signed by each “player” prior to the “covered
                       activities”.

                  However, this condition does not apply if:

                       1.     You require each “player” to sign a waiver and release form
                              previously approved by us prior to the “covered activities”.


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                  2.     Your failure to obtain the waiver and release approved by us
                         was an isolated incident or due to misrepresentation or fraud by
                         the “player”. (Id.)

           50.    The LLP Endorsement also includes a condition which states as follows:

                  You must see to it that “participant accident insurance” is in force and
                  effect for each “player” at the time of occurrence giving rise to a claim
                  or “suit” under this policy. If “participant accident insurance” is not in
                  force and effect for each “player” at the time of occurrence giving rise
                  to a claim or “suit” under this policy the limit for Legal Liability to
                  Participants is reduced to $500,000. (Id.)

           51.    The LLP Endorsement defines “participant accident insurance” as “an insurance

  contract which provides medical expense coverage in the amount of at least $2,500 to each

  ‘player’ for injury incurred during ‘covered activities.’” (Id.)

           52.    The Excess Policy is subject to an Underlying Sublimit Coverage Exclusion

  Endorsement which provides that the Excess Policy does not apply to an “‘event’ covered in the

  ‘controlling underlying insurance’ unless the ‘controlling underlying insurance’ limit for ‘injury

  or damage’ is at least equal to the Applicable Limits as shown on the Schedule of Controlling

  Underlying Insurance.” (Ex. C, XL-2322)

           53.    The Excess Policy defines an “event” as “an ‘occurrence,’ offense, accident, act,

  or other event, to which the applicable ‘controlling underlying insurance’ applies.” “Controlling

  underlying insurance” is defined as “any policy of insurance or self-insurance listed in the

  Declarations under the Schedule of ‘controlling underlying insurance.’” (Ex. C, CX 00 01 09

  08)

           54.    The Schedule of Controlling Underlying Insurance under the Excess Policy lists

  the Primary Policy as providing Commercial General Liability coverage. (Ex. C, XL-SP-1) The




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  term “injury or damage” means “any injury or damage, covered in the applicable ‘controlling

  underlying insurance’ arising from an ‘event.’” (Ex. C, CX 00 01 09 08)

           55.    The applicable limits shown on the Excess Policy’s Schedule of Controlling

  Underlying Insurance is $2,000,000 for Each Occurrence; $2,000,000 for Personal and

  Advertising Injury; and $3,000,000 for Products/Completed Operations Aggregate. (Ex. C, XL-

  SP-1)

           56.    The Excess Policy’s Insuring Agreement of Section I – Coverages provides:

                  b.     This insurance applies to “injury or damage” that is subject to
                         an applicable “retained limit”. If any other limit, such as, a
                         sublimit, is specified in the “controlling underlying insurance”,
                         this insurance does not apply to “injury or damage” arising out
                         of that exposure unless that limit is specified in the Declarations
                         under the Schedule of “controlling underlying insurance”. (Ex.
                         C, CX 00 01 09 08)

           57.    The Excess Policy defines “retained limit” as “the available limits of ‘controlling

  underlying insurance’ applicable to the claim.” (Id.)

                                     DECLARATORY RELIEF

           58.    National Casualty adopts and incorporates by reference the allegations set forth in

  the preceding paragraphs above as though completely and fully set forth herein.

           59.    An actual, present and existing controversy has arisen between National Casualty,

  USASA and Mr. Quetglas with respect to the National Casualty’s obligations under the Primary

  policy and the Excess Policy in connection with the Underlying Lawsuit.

           60.    Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§2201-2202, National

  Casualty seeks a judicial declaration of its rights and duties to USASA, if any, under the Primary

  Policy and Excess Policy relative to the claims asserted in the Underlying Lawsuit. The Court’s

  making such a declaration will confer certainty on the parties with respect to their rights and



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  obligations under the Primary Policy and Excess Policy, and will therefore serve the interests of

  justice.

             61.   The LLP Endorsement contained in the Primary Policy defines “participant” as a

  “‘player’ ... permitted to enter any ‘restricted areas’ which are defined as those areas restricting

  access to general public spectators.” (Ex. B, KR-GL-1-IL)

             62.   “Players” are defined in the LLP Endorsement as “amateur soccer players.”

  “Restricted areas” are defined in the LLP Endorsement as “areas which are occupied by athletes

  and to which access by the general public is restricted or prohibited.” (Id.)

             63.   Based upon information available to National Casualty, Mr. Quetglas qualifies as

  a “player” under the Primary Policy.

             64.   Based upon information available to National Casualty, Mr. Quetglas also

  qualifies as personnel permitted to enter a “restricted area” as defined in the Primary Policy.

             65.   Accordingly, Mr. Quetglas qualifies as a “participant” under the Primary Policy.

  Therefore, the Primary Policy’s participants exclusion bars coverage for this claim under

  Coverage A - Bodily Injury and Property Damage Liability of the CGL coverage form.

             66.   The LLP Endorsement amends the CGL coverage form to provide an additional

  coverage grant, entitled “Section I – Coverages: Coverage – Liability to ‘Participants.’”

  Pursuant to that Insuring Agreement, National Casualty agrees to “pay those sums that the

  Insured becomes legally obligated to pay as damages because of ‘bodily injury’ to any

  ‘participant’ to which this insurance applies.” (Ex. B, KR-GL-1-IL)




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           67.    However, the LLP Endorsement has a condition (the “waiver condition”) which

  states, “You must obtain from each ‘player’ a valid waiver and release form approved by us and

  signed by each ‘player’ prior to the ‘covered activities.’” Id.

           68.    National Casualty worked extensively with USASA regarding the waiver and

  release form that was to be utilized by USASA and its affiliates, leagues and teams.

           69.    However, the Waiver Agreement signed by Mr. Quetglas is not the waiver and

  release form approved by National Casualty.

           70.    The waiver condition does not apply if “[y]ou require each ‘player’ to sign a

  waiver and release form previously approved by us prior to the ‘covered activities’” and/or

  “[y]our failure to obtain the waiver and release approved by us was an isolated incident or due to

  misrepresentation or fraud by the ‘player.’” (Ex. B, KR-GL-1-IL)

           71.    The waiver form signed by Mr. Quetglas was not previously approved by

  National Casualty, and based upon information available to National Casualty, the failure to

  obtain a waiver and release approved by National Casualty was not an “isolated incident” or due

  to misrepresentation or fraud by Mr. Quetglas.

           72.    Therefore, the waiver condition in the LLP Endorsement was not satisfied,

  thereby precluding coverage under the endorsement for Mr. Quetglas’s claim.

           73.    The LLP Endorsement also includes a participant accident insurance condition,

  which states as follows:

                  You must see to it that “participant accident insurance” is in force and
                  effect for each “player” at the time of occurrence giving rise to a claim
                  or “suit” under this policy. If “participant accident insurance” is not in
                  force and effect for each “player” at the time of occurrence giving rise
                  to a claim or “suit” under this policy the limit for Legal Liability to
                  Participants is reduced to $500,000. (Ex. B, KR-GL-1-IL)

           74.    USASA was notified of this loss by Miami United.


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           75.     National Casualty understands that USASA did not tender the claim to the

  participant accident insurance carrier because Mr. Quetglas does not qualify for coverage under

  the participant accident insurance.

           76.     Thus, “participant accident insurance” was not in force and effect for Mr.

  Quetglas at the time of the occurrence give rising to this claim under the Primary Policy.

           77.     Based on available information, the participant accident insurance condition was

  not satisfied.

           78.     Therefore, in the event Legal Liability to Participants coverage is available for the

  claim, the limit of liability for this coverage is reduced from $2,000,000 to $500,000.

           79.     The Excess Policy is a follow form policy.           Thus, the above exclusions,

  provisions and conditions of the Primary Policy available to National Casualty are equally

  applicable as they relate to coverage for the claim under the Excess Policy.

           80.     The Excess Policy is subject to an Underlying Sublimit Coverage Exclusion

  Endorsement which provides that the Excess Policy does not apply to an “‘event’ covered in the

  ‘controlling underlying insurance’ unless the ‘controlling underlying insurance’ limit for ‘injury

  or damage’ is at least equal to the Applicable Limits as shown on the Schedule of Controlling

  Underlying Insurance.” (Ex. C, XL-2322)

           81.     The Excess Policy defines an “event” as “an ‘occurrence’, offense, accident, act,

  or other event, to which the applicable ‘controlling underlying insurance’ applies.” “Controlling

  underlying insurance” is defined as “any policy of insurance or self-insurance listed in the

  Declarations under the Schedule of ‘controlling underlying insurance’”. (Ex. C, CX 00 01 09

  08)




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           82.         The Schedule of Controlling Underlying Insurance under the Excess Policy lists

  the Primary Policy as providing Commercial General Liability coverage. The term “injury or

  damage” means “any injury or damage, covered in the applicable ‘controlling underlying

  insurance’ arising from an ‘event.’” (Ex. C, XL-SP-1)

           83.         The applicable limits shown on the Excess Policy’s Schedule of Controlling

  Underlying Insurance is $2,000,000 for Each Occurrence; $2,000,000 for Personal and

  Advertising Injury; and $3,000,000 for Products/Completed Operations Aggregate. (Id.)

           84.         In the event the limit under the Legal Liability to Participants coverage is reduced

  to $500,000, the claim is considered an “event” covered in the “controlling underlying

  insurance” and satisfies the “occurrence” requirement in the excess policy.

           85.         However, the $500,000 limit available under the Legal Liability to Participants

  coverage would not be “at least equal to the Applicable Limits as shown on the Schedule of

  Controlling Underlying Insurance,” i.e. $2,000,000 for Each Occurrence; $2,000,000 for

  Personal and Advertising Injury; and $3,000,000 for Products/Completed Operations Aggregate.

           86.         Further, the Excess Policy’s Insuring Agreement of Section I – Coverages

  provides in relevant part as follows:

                  b.   This insurance applies to “injury or damage” that is subject to an
                       applicable “retained limit”. If any other limit, such as, a sublimit, is
                       specified in the “controlling underlying insurance”, this insurance does
                       not apply to “injury or damage” arising out of that exposure unless that
                       limit is specified in the Declarations under the Schedule of “controlling
                       underlying insurance.” (Ex. C, CX 00 01 09 08)

           87.         The Excess Policy defines “retained limit” as “the available limits of ‘controlling

  underlying insurance’ applicable to the claim.” (Id.)

           88.         Thus, because the Schedule of Controlling Underlying Insurance does not specify

  the $500,000 reduced limit (nor does the declaration of the Excess Policy), the Excess Policy


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  does not provide coverage for the claim in the event the limit under the Legal Liability to

  Participants coverage is reduced to $500,000.

           89.    In addition to the foregoing provisions, National Casualty pleads all other

  conditions, terms, warranties, limits, definitions and exclusions of the Primary Policy and the

  Excess Policy which also may be found to be applicable as investigation of this claim continues,

  and National Casualty reserves the right to amend its Complaint for Declaratory Judgment as

  additional and/or more specific information becomes available.

           WHEREFORE, National Casualty respectfully requests that this Court enter a judgment

  declaring the rights, status and obligations of the parties under the Primary Policy and the Excess

  Policy, specifically that National Casualty has no obligation under the terms of the Primary

  Policy or the Excess Policy to defend or indemnify USASA, Mr. Mesa, Miami United, Mr. Saca,

  or any other entity or individual in connection with the Underlying Lawsuit.

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